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February 5, 2025
Via ECF

The Honorable Sarah Netburn

Thurgood Marshall United States Courthouse
40 Foley Square, Room 430

New York, NY 10007

Re:  Inre Terrorist Attacks on September 11, 2001, 03-md-1570 (GBD) (SN)

Dear Judge Netburn:

I write on behalf of Defendant Kingdom of Saudi Arabia (“Saudi Arabia’) to request
that the Court set a deadline of February 28, 2025 for any responses to the objections that the
parties filed this past Friday, January 31, under Federal Rule of Civil Procedure 72(a). See
ECF Nos. 10691, 10693.

Rule 72(a) sets a 14-day deadline for objections to a non-dispositive order but does not
set a date for responses to objections. In this instance, the Court’s order issued on December 11,
2024, and Plaintiffs’ original due date was December 24. Plaintiffs sought and obtained an
extension to January 31, 2025, to which Saudi Arabia did not object. Plaintiffs then filed a 25-
page set of objections; Saudi Arabia filed a 3-page set of objections. The January 31 deadline
allowed a total of 51 calendar days (including the end-of-year holidays) for objections. Saudi
Arabia’s requested February 28 deadline would allow a total of 28 calendar days for responses.
Accordingly, the request is reasonable and proportionate.

Plaintiffs have asked that this letter state their position as follows:

Plaintiffs note that both parties were afforded the same, extended period to file
Rule 72 objections due to travel and holiday plans. In contrast, KSA has offered
no justification for a four-week filing deadline for responses, and Plaintiffs do not
believe that such an extension (until February 28) is necessary or warranted.

Plaintiffs nonetheless defer the matter to the discretion of the Court. In the event
that a deadline of February 28 is set for responses, Plaintiffs would request that
the deadline for reply briefs be set for March 14, 2025.

Saudi Arabia does not object to Plaintiffs’ request as to reply briefs.
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As the Court is aware from previous letters, the parties have contested whether
leave of Court is required for a response to Rule 72(a) objections, and it is Saudi Arabia’s
position that no leave is required. See ECF No. 4753, at 1-2 & n.*. To the extent
necessary, Saudi Arabia respectfully requests leave to file its response.

Respectfully submitted,
/s/ Michael K. Kellogg

Michael K. Kellogg
Counsel for the Kingdom of Saudi Arabia

ec: All MDL Counsel of Record (via ECF)

Saudi Arabia's request is GRANTED. Responses are due by February 28, 2025, and the deadline
for reply briefs 1s set for March 14, 2025.

ple Men —

SARAH NETBURN
United States Magistrate Judge

Dated: February 6, 2025
New York, New York

